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IN THE UNITED sTATEs DISTRICT coURT misc ar _L,Qk c.o.
FoR THE wEsTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION 05 JUN 2| PH 5= |'~.
UNITED sTATEs 0F AMERICA, ) nossar a. or metro
mainde CLEFtK, UVS. DEST. CT.

W.D. OF TN, MEMPHIS
Vs. ) CR. NO. 05-20110-B

CHANDRA NETTERS LOFTON TAYLOR,
Defendant. )

 

ORDER ON MOTION TO WAIVE PRESENCE

 

Before the Court is the Motion To Waive Presence filed by Chandra Netters
Lofton Taylor, Defendant, through her counsel, on June 21, 2005 , asking the Court
to waive the presence of the Defendant at the status report hearing set for June 23,
2005; based upon the allegation of the Defendant that she is presently enrolled in
an in-patient treatment program at a facility in Memphis, and that it would be
better for her to remain within the confines of the treatment facility at this time,
and based upon the record in this cause as a whole, the Court is of the opinion
that the motion is well taken and should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED BY THE
COURT:

1. That the presence of Chandra Netters LoRon Taylor at the status report

hearing on June 23, 2005, shall be and ereby is waived and excused.

 

 

   
  

E J.` DANIEL BRBEN, IUDGE
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DATE:

Th|s document entered on the docket sheet In compliance
with Fiule 55 and/or 32(b) FF|CrP on

  
 

ENNESSEE

 
 

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Honorable J. Breen
US DISTRICT COURT

